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                               BEFORE THE JUDICIAL PANEL
                              ON MULTIDISTRICT LITIGATION



IN RE: DIGITAL ADVERTISING
                                                    MDL No. 3010
ANTITRUST LITIGATION


      INTERESTED PARTY RESPONSE OF DIGITAL CONTENT NEXT (DCN) TO
    GOOGLE DEFENDANTS’ MOTION FOR TRANSFER OF ACTIONS TO THE
   NORTHERN DISTRICT OF CALIFORNIA PURSUANT TO 28 U.S.C. § 1407 FOR
           COORDINATED OR CONSOLIDATED PROCEEDINGS

       Digital Content Next, by counsel, hereby submits this Interested Party Response to the

Google Defendants’ Motion for Transfer of Actions to the Northern District of California

Pursuant to 28 U.S.C. Sec. 1407 for Coordinated or Consolidated Proceedings, and in support

thereof, states as follows:

1. Founded in 2001, Digital Content Next (DCN) is the only trade organization dedicated to

   serving the unique and diverse needs of high-quality publishers that manage trusted, direct

   relationships with consumers and marketers.1

2. The main requirement for membership in DCN is that the member company’s core business

   is focused on the creation and monetization of original content.

3. As a result, DCN’s members are some of the most trusted and well-respected media brands,

   including The New York Times, Disney, Conde Nast and the Vox Media Group, among

   others.

4. Together, DCN’s 80+ members have an unduplicated audience of over 223 million unique

   visitors, or essentially 100 percent reach of the U.S. online population.




       See https://digitalcontentnext.org/membership/members/ for a listing of DCN’s current
       1

members.


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5. DCN’s premium publishers are directly impacted by Google’s dominant position in the

   digital advertising marketplace.

6. According to DCN’s proprietary benchmarking research, advertising makes up

   approximately 80% of the digital revenues for its member companies.

7. Many of DCN’s members, such as The Weather Company and WebMD, offer free content,

   which is supported almost entirely by advertising revenue.

8. Other DCN members, such as the Washington Post and NBC Universal, offer subscription

   models, which are supplemented in large part by advertising revenue.

9. Across the spectrum of publishers, advertising plays an important role in the creation of

   content, especially journalism.

10. Regardless of the publisher’s business model, however, in order to operate a publishing

   business with any amount of advertising revenue, it is impossible to avoid working with

   Google.

11. As a result of its dominant position in search, software, advertising and industry standards-

   setting on all sides of the market, Google has unique access to industry intelligence, and is

   able to dictate terms to publishers and shield information about their operation from

   publishers.

12. In a healthy marketplace with competition, publishers would be able to negotiate fairer and

   more transparent terms with regard to advertising, consumer data collection and use, content

   availability and audience acquisition.

13. As a result, DCN and its member companies are interested in the suits brought by the Texas

   Attorney General and private companies because they could lead to the restoration of

   competition in the marketplace.




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14. Of the many hundreds of publisher brands that are members of DCN, the vast majority of the

   parent companies have headquarters and/or significant operations in New York.

15. For this reason, a majority of DCN’s events and DCN’s meetings of its Board of Directors

   take place in New York City.

16. Thus, traveling to California would be a significant hurdle for most employees of publishers

   who might be called upon to testify as witnesses.

17. In addition, DCN and its member companies prefer that the case brought by the Texas

   Attorney General be heard in the Eastern District of Texas (EDTX), as that court’s calendar

   appears able to accommodate this case more quickly than the Northern District of California

   (NDCA). The most recent report from the National Judicial Center (attached hereto as

   Exhibit 1) shows that EDTX has 689 pending cases per judgeship, compared to the NDCA’s

   931 pending cases per judgeship.

18. Further, the median time to trial in a civil case in EDTX is 17.5 months, significantly shorter

   than the 37.6 months for the NDCA.

19. In addition, Judge Sean Jordan in the EDTX case has actually set a June 5, 2023 trial date for

   the State AG case against Google. See Scheduling Order dated May 21, 2021, attached

   hereto as Exhibit 2.

20. None of the other cases in Google’s motion in New York, California, or elsewhere have trial

   dates.

21. One of the concerns that DCN hears from its member companies is how long antitrust

   solutions may take to bear competitive fruit, as they consider their options in acting as

   witnesses or being more and more dependent on a single company.




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22. If the private suits must be consolidated, DNC requests that the suits be moved to the

   Southern District of New York (SDNY), because the SDNY would be far more convenient

   than California for most employees of publisher organizations.

23. Moreover, the SDNY is likely to move forward more quickly with the case than the NDCA,

   SDNY has 689 pending cases per judgeship, compared to the NDCA’s 931 pending cases per

   judgeship.

24. Further, the median time to trial in a civil case is lower in the SDNY at 30.7 months,

   compared to the NDCA median time to trial of 37.6 months.

25. Given the important issues at stake, and the current, dire challenges facing the publishing

   industry, especially local news organizations, it is important that these cases proceed as soon

   as possible.



Date: May 26, 2021                           Respectfully submitted,



                                                     /s/ DRAFT

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